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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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DIVERSIFIED INVESTMENT ADVISORS, INC,

                                   Plaintiff,

          v.                                         09-cv-680

CARLTON K. WATKINS and MAXWELL COFFEY,

                                   Defendants.

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THOMAS J. McAVOY
Senior United States District Judge

                                    DECISION and ORDER

          Plaintiff commenced the instant interpleader action to resolve competing claims to

funds in a participating account held by Patricia C. Wakins under the Albert Lindley Lee

Memorial Hospital 304(b) Program (the “Plan”). Plaintiff serves as the Plan administrator.

The funds in the amount of $44,214.17 have been deposited into the Court’s registry.

Plaintiff now moves pursuant to 28 U.S.C. § 1335 asking that: (1) it be discharged from this

action and from further liability as a disinterested stakeholder; and (2) Defendants be

required to interplead and submit their claims to this Court.

          The underlying facts are as follows. Patricia Watkins completed her application for

enrollment in the Plan. She designated Defendant Carlton Watkins as sole beneficiary.

Patricia Watkins has since died. In March 2009, after Patricia Watkins’s death, Carlton

Watkins filed a claim for the Plan benefits. Defendant Maxwell Coffey, personal

representative of Patricia Watkins’s estate, also filed a claim for the plan benefits. It appears
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that there is a dispute between Defendants whether Patricia Watkins’s divorce from Carlton

Watkins terminated Carlton Watkins’s designation as beneficiary to the funds.

          The Court finds that, pursuant to the undisputed facts,1 interpleader is warranted

and that, because Plaintiff has deposited the funds with the Court, it is entitled to be

discharged from this action.

          For the foregoing reasons, Plaintiff’s motion is GRANTED. Plaintiff DIVERSIFIED

is DISCHARGED from this action and from further liability as a disinterested stakeholder and

Defendants shall interplead and submit their claims to the Court.

IT IS SO ORDERED.

Dated: October 5, 2009




         1
          Defendant Maxwell Coffey has stated that he has no objection to the requested relief and
  Defendant W atkins has failed to appear in opposition.

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